                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

HARRIS LOCAL GOVERNMENT                      §
SOLUTIONS, INC., ET AL.                      §
                                             §
v.                                           § CIVIL NO. 4:22-CV-752-SDJ
                                             §
TRUE PRODIGY TECH                            §
SOLUTIONS, LLC, ET AL.                       §

                             ORDER SETTING HEARING

       Before the Court is Defendants’ Unopposed Motion for Oral Argument on Motion to

Dismiss. (Dkt. #51). Having considered the motion, the Court concludes that it should be

granted.

       It is therefore ORDERED that the motion is GRANTED.
           .
       It is further ORDERED that Defendants’ Motion to Dismiss Second Amended

Complaint Under Rule 12(b)(6), (Dkt. #37), is set for hearing on October 12, 2023, at 11:00

a.m. at the United States Courthouse located at 7940 Preston Road in Plano, Texas. The

Court will also hear Defendants’ Sealed Motion for Special Procedures Requiring

Identification of Trade Secrets at Issue, (Dkt. #53), and Defendant’s Opposed Motion to Stay

Discovery Pending Ruling on Motion to Dismiss Plaintiffs’ Second Amended Complaint, (Dkt.

#41), at the same time.


               So ORDERED and SIGNED this 5th day of October, 2023.




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                                                            SEAN D. JORDAN
                                                            UNITED STATES DISTRICT JUDGE
